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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                   §
                                         §
URBAN OAKS BUILDERS LLC,                 §         Case No. 18-34892
                                         §
         Debtor.                         §         Chapter 11

  CHAPTER 11 PLAN OF REORGANIZATION OF URBAN OAKS BUILDERS LLC

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Dated: February 26, 2019
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                                       INTRODUCTION

       Urban Oaks Builders LLC, as Debtor and Debtor-in-Possession in the above captioned
Bankruptcy Case, hereby proposes this Plan of reorganization under Bankruptcy Code section
1121 for the resolution of outstanding Claims against, and Interests in, the Debtor.

                            ARTICLE I.
 DEFINED TERMS, RULES OF INTERPRETATION, CONSTRUCTION OF TERMS,
            COMPUTATION OF TIME, AND GOVERNING LAW

A.     Defined Terms

        For purposes of this Plan, except as expressly provided or unless the context otherwise
requires, all capitalized terms not otherwise defined shall have meanings ascribed to them in this
Article. Any term used in this Plan that is not defined herein, but is defined in the Bankruptcy
Code or the Bankruptcy Rules, shall have the meaning ascribed to that term in the Bankruptcy
Code or Bankruptcy Rules. Whenever the context requires, such terms shall include the plural as
well as the singular number, the masculine gender shall include the feminine, and the feminine
gender shall include the masculine.

Administrative Claim or Administrative Expense Claims means a Claim, Cause of Action, right,
or other liability, or the portion thereof, that is entitled to priority under Bankruptcy Code
sections 326, 327, 330, 503(b), 506(c), 507(a)(2), 507(b), and 1103, including (i) the actual and
necessary costs and expenses incurred after the Petition Date of preserving the Estate and/or in
connection with operating the Debtor’s business (such as wages, salaries, or payments for goods
and services); (ii) Professional Compensation Claims; and (iii) all fees and charges assessed
against the Estate under 28 U.S.C. § 1930.

Administrative Claim Bar Date means, except as provided in Article II herein, the first Business
Day that is thirty (30) days after the Effective Date or such earlier deadline as established by an
order of the Bankruptcy Court.

Affiliate has the meaning prescribed in Bankruptcy Code section 101(2).

Allowed means, with respect to any Claim or Interest, except as otherwise provided in the Plan, a
Claim or Interest allowable under Bankruptcy Code section 502 that (i) has been allowed by a
Final Order, including but not limited to any Final Order estimating claims for purposes of
confirming this Plan, (ii) either has been Scheduled as a liquidated, non-contingent, undisputed
Claim in an amount greater than zero in the Debtor’s Schedules, as the same may from time to
time be amended in accordance with the Bankruptcy Code, Bankruptcy Rules or order of the
Bankruptcy Court, or is the subject of a timely Filed and liquidated Proof of Claim as to which
either no objection to its allowance has been Filed (either by way of objection or amendment to
the Schedules) within the periods of limitation fixed by the Bankruptcy Code or by any order of
the Bankruptcy Court, or any objection to its allowance has been settled, waived through
payment, or withdrawn, or has been denied by a Final Order, or (iii) is expressly allowed in a
liquidated amount in the Plan; provided, however that with respect to an Administrative Claim,
“Allowed” means an Administrative Claim as to which a timely request for payment has been
made in accordance with this Plan (if such written request is required) or other Administrative

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Claim, in each case as to which (i) a timely objection has not been Filed, or (ii) a timely
objection is Filed and such objection has been settled, waived through payment, or withdrawn, or
has been denied by a Final Order.

Avoidance Actions means any and all actual or potential Claims and Causes of Action that may
be commenced before or after the Effective Date, to avoid a transfer of property or an obligation
incurred by any of the Debtor pursuant to any applicable section of the Bankruptcy Code,
including sections 544, 545, 547, 548, 549, 550, 551, 553(b), and 724(a) of the Bankruptcy
Code, or under similar or related state or federal statutes and common law.

Bankruptcy Case means the Chapter 11 bankruptcy case commenced by the Debtor upon the
Filing of the voluntary petition on the Petition Date; styled In re Urban Oaks Builders LLC, Case
No. 18-34892-11.

Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§ 101-1532.

Bankruptcy Court means the United States Bankruptcy Court for the Southern District of Texas,
Houston Division.

Bankruptcy Estate or Estate means the estate of the Debtor created under section 541 of the
Bankruptcy Code upon the Filing of the Bankruptcy Case.

Bankruptcy Rules means, collectively, the Federal Rules of Bankruptcy Procedure and the
Official Bankruptcy Forms, as amended, the Federal Rules of Civil Procedure, as amended and
as applicable to the Bankruptcy Case or proceedings therein, and the Local Rules of the
Bankruptcy Court, as applicable to the Bankruptcy Case or proceedings therein, as the case may
be.

Bar Date means January 23, 2019, the date established by the Bankruptcy Court by which Proofs
of Claim must be Filed with respect to such Claims, other than Administrative Claims, Claims
held by Governmental Units, or other Claims or Interests for which the Bankruptcy Court
entered an order excluding Holders of such Claims or Interests from the requirement of Filing
Proofs of Claim.

Business Day means any day other than a Saturday, Sunday, or a “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).

Cash means cash and cash equivalents, including bank deposits, checks, and other similar items
in legal tender of the United States of America.

Causes of Action means any claims, interests, damages, remedies, causes of action, demands,
rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers, privileges,
licenses, liens, indemnities, guaranties, and franchises of any kind or character whatsoever,
whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, contingent or
non-contingent, liquidated or unliquidated, secured or unsecured, assertable, directly or
derivatively, matured or unmatured, suspected or unsuspected, in contract, tort, law, equity, or
otherwise. Causes of Action also include: (a) all rights of setoff, counterclaim, or recoupment
and claims under contracts or for breaches of duties imposed by law; (b) the right to object to or
otherwise contest Claims or Interests; (c) Avoidance Actions; and (d) such claims and defenses
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as fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of the
Bankruptcy Code.

Celebration Apartments means the multifamily apartment project the Debtor was the general
contractor for in Celebration, Florida.

CIPs means the Debtor’s contractor-controlled insurance plans.

Claim means a claim against any portion of the Debtor’s Bankruptcy Estate, whether or not
asserted, as defined in section 105(5) of the Bankruptcy Code.

Claims Register means the official register of Claims.

Class means a category of Claims or Interests as described in the Plan pursuant to Bankruptcy
Code section 1122(a).

CM/ECF means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

Confirmation means entry by the Bankruptcy Court of the Confirmation Order confirming this
Plan.

Confirmation Date means the date of entry by the Bankruptcy Court of the Confirmation Order.

Confirmation Hearing means the hearing held by the Bankruptcy Court to consider
Confirmation of the Plan.

Confirmation Order means the order of the Bankruptcy Court confirming the Plan pursuant to
Bankruptcy Code § 1129.

Consummation means the occurrence of the Effective Date.

Coverage Litigation means the litigation initiated by the Debtor against the Insurance Carriers
seeking a declaratory judgment requiring them to honor their obligations to the Debtor in relation
to the Southstar Litigation. The Coverage Litigation is styled Hines Interests Limited
Partnership, et. al. v. Southstar Capital Group I, LLC, et. al., Case No. 6:18-CV-1147-ORL-
22DCI in the United States District Court for the Middle District of Florida.

Cure Claim means a Claim based upon the Debtor’s default on an Executory Contract or
Unexpired Lease at the time such contract or lease is assumed by the Debtor pursuant to
Bankruptcy Code section 365.

Cure Claim Submission Deadline means [______], 2019, the date by which all alleged amounts
accrued or alleged defaults through the Effective Date must be Filed with the Bankruptcy Court.

Current Directors and Officers means the directors and officers of the Debtor who were
directors and officers of the Debtor as of the Petition Date.

Debtor means Urban Oaks Builders LLC.

DIP Lender means POC Holdings 2, Inc.
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DIP Loan Agreement means the Debtor in Possession Secured Promissory Note between the
Debtor and the DIP Lender [Doc. No. 8-1], including any subsequent amendments thereto, and
the corresponding Security Documents, as defined therein.

DIP Loan Claim means a Claim held by the DIP Lender, arising under or relating to the DIP
Loan Agreement or the DIP Loan Order, including any and all fees, interest paid in kind, and
accrued but unpaid interest and fees arising under the DIP Loan Agreement, and all obligations
defined thereunder.

DIP Loan Order means the Final Order (I) Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364
and 507, Bankruptcy Rules 2002, 4001 and 9014 Authorizing the Debtor to (A) Obtain
Postpetition Financing, (B) Grant Senior Liens and Superpriority Administrative Expense Status,
(C) Use Cash Collateral of Prepetition Secured Lender, and (D) Grant Adequate Protection to
Prepetition Secured Lender; and (II) Granting Related Relief [Doc. No. 104].

Disputed Claim means a Claim in a particular Class as to which a Proof of Claim has been Filed
or is deemed to have been Filed under applicable law or an Administrative Claim as to which an
objection has been Filed in accordance with the Plan, the Bankruptcy Code or the Bankruptcy
Rules, and such objection has not been withdrawn or determined by a Final Order. For purposes
of the Plan, a Claim is a Disputed Claim prior to any objection to the extent that (a) the amount
of a Claim specified in a Proof of Claim exceeds the amount of any corresponding Claim
scheduled by the Debtor in the Schedules of Assets and Liabilities; (b) any corresponding Claim
scheduled by the Debtor in the Schedules of Assets and Liabilities has been scheduled as
disputed, contingent or unliquidated, irrespective of the amount scheduled; (c) no corresponding
Claim has been scheduled by the Debtor in the Schedules of Assets and Liabilities; or (d) the
Claim is subject to disallowance pursuant to Bankruptcy Code section 502(d).

Distribution Record Date means the Confirmation Date.

Effective Date means the date that is the first Business Day after the Confirmation Date, on
which (a) no stay of the Confirmation Order is in effect, and (b) all conditions to the
effectiveness of the Plan have been satisfied or waived as provided in the Plan.

Entity means any Person, estate, trust, Governmental Unit, or United States trustee, as set forth
in Bankruptcy Code section 101(15).

Estate Property means all right, title, and interest in and to any and all property of every kind or
nature, owned by the Debtor or its Estate on the Petition Date as defined by Bankruptcy Code
section 541.

Estate means the bankruptcy estate of the Debtor and all Estate Property comprising the Debtor’s
bankruptcy estate within the meaning of Bankruptcy Code section 541.

Exculpated Parties means, collectively, the Debtor and POC Holdings 2, Inc., and with respect
to each of the foregoing Entities, any of their respective current officers, directors, Professionals,
advisors, accountants, attorneys, investment bankers, consultants, employees, agents and other
representatives (but solely in their capacity as such).


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Executory Contract means an executory contract or unexpired lease as such terms are used in
Bankruptcy Code section 365, including all operating leases, capital leases, and contracts to
which any Debtor is a party or beneficiary.

Exhibit means an exhibit annexed to the Plan.

Exit Financing means the new financing provided to the Debtor by POC Holdings 2, Inc. upon
the Effective Date of the Plan.

Exit Financing Documents means the credit agreement and other loan documents related to or
evidencing the loans and obligations thereunder, to be dated as of the Effective Date, governing
the Exit Financing, each in form and substance acceptable to the Debtor and POC Holdings 2,
Inc.

File, Filed, or Filing means, as to any document or pleading, properly and timely file, filed or
filing with the Bankruptcy Court or its authorized designee in the Bankruptcy Case.

Final Order means an order or judgment of the Bankruptcy Court, as entered on the docket in
the Debtor’s Bankruptcy Case, the operation or effect of which has not been stayed, reversed, or
amended and as to which order or judgment (or any revision, modification, or amendment
thereof) the time to appeal or seek review or rehearing has expired and as to which no appeal or
petition for review or rehearing was Filed or, if Filed, remains pending.

Gemini means Gemini Insurance Company.

General Unsecured Claim means an Unsecured Claim that is not: (a) an Administrative Claim;
(b) a Professional Compensation Claim; (c) a Priority Tax Claim; (d) a Priority Non-Tax Claim;
(e) a Litigation Creditor Claim; or (f) a Non-Southstar Warranty Claim.

Governmental Unit means any governmental unit, as defined in Bankruptcy Code section
101(27).

Great American means Great American Assurance Company.

Holder means (a) as to any Claim, (i) the owner or holder of such Claim as such is reflected on
the Proof of Claim Filed with respect to such Claim, or (ii) if no Proof of Claim has been Filed
with respect to such Claim, the owner or holder of such Claim as such is reflected on the
Schedules or the books and records of the Debtor or as otherwise determined by order of the
Bankruptcy Court, or (iii) if the owner or holder of such Claim has assigned or transferred the
Claim to a third party and the Debtor have received sufficient written evidence of such
assignment or transfer, the assignee or transferee; and (b) as to any Equity Interest, the record
owner or holder of such Equity Interest as shown on the stock register that is maintained by the
Debtor or as otherwise determined by order of the Bankruptcy Court.

Impaired or Impairment means, with respect to a Class of Claims or Interests, a Class of Claims
or Interests that is impaired within the meaning of Bankruptcy Code section 1124.

Inception CIP means that certain CIP which acts as a single policy to provide coverage for the
Debtor and the Other Defendants for their work at the Celebration Apartments. This term
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specifically includes the Debtor’s insurance policies with Gemini, Ironshore, Navigators, and
Great American.

Insider has the meaning set forth in Bankruptcy Code section 101(31).

Insurance Carriers means, collectively, Gemini, Ironshore, Navigators, and Great American.

Insurance Proceeds means the proceeds of the Debtor’s insurance policies with Gemini,
Ironshore, Navigators, and Great American pursuant to the Inception CIP.

Insurance Reimbursement Claim means the Debtor’s claims against, and interest in, the
Insurance Proceeds under the Insurance Trust for reimbursement of actual expenses incurred for
remediation work at the Celebration Apartments prior to the Petition Date. The Insurance
Reimbursement Claim amount is fixed at $[______].

Insurance Trust or UOB Insurance Trust means the trust established under the Plan pursuant to
the Insurance Trust Agreement. With respect to any action required or permitted to be taken by
the Insurance Trust, the term includes the Insurance Trustee, or any other person authorized to
take such action in accordance with the Insurance Trust Agreement.

Insurance Trust Agreement means the agreement creating the Insurance Trust to be
implemented pursuant to Article IV of the Plan, which terms are consistent with the terms of the
Plan. To the extent the Insurance Trust Agreement is not filed with the Plan, it will be filed in
the Bankruptcy Case prior to the Confirmation Hearing.

Insurance Trust Assets means the assets transferred to the UOB Insurance Trust pursuant to the
terms of this Plan and the Insurance Trust Agreement. This term specifically includes the
Debtor’s claims against and interest in, the Insurance Proceeds under the Inception CIP as a
result of the claims asserted and potential for liability in the Southstar Litigation. For the
avoidance of doubt, this term specifically excludes all other right, interests, or claims of the
Debtor’s Estate that could be asserted pursuant to any other insurance policy, CIP, or
Subcontractor Default Insurance Policy.

Insurance Trustee means the trustee of the UOB Insurance Trust after his or her appointment
pursuant to the Plan and the Insurance Trust Agreement.

Interest, Equity Interest, or Membership Interest means any ownership interest in the Debtor, as
of the Petition Date, including, but not limited to, an interest in any issued, unissued, authorized
or outstanding shares or stock, including ordinary shares, common stock, preferred stock, or
other instrument evidencing any fixed or contingent ownership interest in the Debtor, whether or
not transferable, together with any warrants, options, or contractual rights to purchase or acquire
such interests at any time and all rights arising with respect thereto.

Interim DIP Loan Order means the Interim Order: (I) Pursuant to 11 U.S.C. §§ 105, 361, 362,
363, 364 and 507, Bankruptcy Rules 2002, 4001 and 9014 Authorizing the Debtor to (A) Obtain
Postpetition Financing, (B) Grant Senior Liens and Superpriority Administrative Expense Status,
(C) Use Cash Collateral of Prepetition Secured Lender, and (D) Grant Adequate Protection to
Prepetition Secured Lender; (II) Scheduling a Final Hearing; and (III) Granting Related Relief
[Doc. No. 26].
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Ironshore means Ironshore Specialty Insurance Company.

IRS means the Internal Revenue Service.

Judicial Code means title 28 of the United States Code, 28 U.S.C. §§ 1 – 4001.

Lien means a lien, security interest, or other interest or encumbrance asserted against any Estate
Property as defined in Bankruptcy Code section 101(37).

Litigation Creditor means a Person or Entity holding a Claim against the Debtor’s Estate which
could be satisfied by the Gemini, Ironshore, Navigators, and Great American insurance policies
under the Inception CIP, including, but not limited to, the Southstar Plaintiffs and the Other
Defendants.

Navigators means Navigators Specialty Insurance Company.

Non-Southstar Warranty Claim means a Claim against the Debtor’s Estate, other than the
Claims of the Southstar Plaintiffs, for warranty work at one or more of the Debtor’s construction
projects, whether ongoing or previously completed, and regardless of which of the Debtor’s CIPs
may provide coverage.

Other Defendants means 1662 Multifamily LLC, Hines Investment Management Holdings
Limited Partnership, HIMH GP LLC, Hines Real Estate Holdings Limited Partnership, Hines
Interests Limited Partnership, and JCH Investments, Inc.

Other Defendants’ Claims means the Proofs of Claim filed by the Other Defendants against the
Debtor for contribution and/or indemnity if, and to the extent the Other Defendants may be held
liable to the Southstar Plaintiffs in the Southstar Litigation.

Person means and includes natural persons, corporations, limited partnerships, general
partnerships, joint ventures, trusts, land trusts, business trusts, unincorporated organizations, or
other legal entities, regardless of whether they are governments, agencies, or political
subdivisions thereof.

Petition Date means August 31, 2018, the date on which the Debtor commenced the Bankruptcy
Case.

Plan means the Chapter 11 Plan of Reorganization Filed by the Debtor, as such document may
be amended or modified.

Plan Documents means, collectively those documents in furtherance of Consummation of the
Plan and/or to be executed in order to consummate the transactions contemplated under the Plan,
which may be Filed by the Debtor with the Bankruptcy Court.

Prepetition Secured Loan means the funds advanced to the Debtor pursuant that certain Security
Agreement dated August 21, 2018, and Promissory Note dated August 21, 2018, by and between
the Debtor and POC Holdings 2, Inc.



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Priority Non-Tax Claim means a Claim asserted under Bankruptcy Code sections 507(a)(3-7
and 9-10).

Priority Tax Claim means a Claim asserted under Bankruptcy Code section 507(a)(8).

Professional means an Entity: (a) employed pursuant to a Bankruptcy Court order in accordance
with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services
rendered prior to or on the Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and
363 of the Bankruptcy Code; or (b) awarded compensation and reimbursement by the
Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

Professional Compensation Claim means a Claim for compensation or reimbursement of
expenses of a Professional incurred on and after the Petition Date and prior to the Effective Date,
including fees and expenses incurred in preparing final fee applications and participating in
hearings on such applications, and requested in accordance with the provisions of Bankruptcy
Code sections 326, 327, 328, 330, 331, 502(b) or 1103.

Professional Compensation Claim Bar Date means, except as provided in Article II herein,
forty-five (45) days after the Effective Date.

Professional Compensation Claim Objection Deadline means twenty-one (21) days after the
Professional Compensation Claim Bar Date.

Proponent means the Debtor.

Proof of Claim means a proof of Claim Filed against the Debtor in the Bankruptcy Case by the
applicable Bar Date.

Reinstate, Reinstated, or Reinstatement means, with respect to Claims and Interests, that the
Claim or Interest shall be rendered Unimpaired in accordance with Bankruptcy Code section
1124.

Released Party means, collectively, and in each solely in their capacities as such, the Debtor, and
with respect to the Debtor, its Professionals, successors, assigns, subsidiaries, Affiliates,
managed accounts and funds, Current Directors and Officers, principals, shareholders, members,
partners, managers, employees, subcontractors, agents, financial advisors, attorneys, accountants,
investment bankers, consultants, representatives, management companies, fund advisors, and
other professionals, and such Entities’ respective heirs, executors, estates, servants, and
nominees.

Releasing Party means the Holders of Claims or Interests in Classes 1, 2, 3, 4, and 5 that are
entitled to receive distributions under the Plan.

Reorganized Debtor means, collectively, the Debtor, or any successors or assigns, by merger,
consolidation, or otherwise, on and after the Effective Date.

Retained Causes of Action means all Causes of Action that belong to the Debtor, but shall not
include any action against a Released Party.

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Schedules means, collectively, the Schedule of Assets and Liabilities, Schedule of Equity
Security Holders, Schedule of Rejected Contracts and Leases, and Schedule of Retained Causes
of Action.

Schedule of Assets and Liabilities means the schedules of assets and liabilities Filed by the
Debtor in the Bankruptcy Case, as may be amended, modified, or supplemented.

Schedule of Equity Security Holders means the schedule of Interests required to be Filed
pursuant to Bankruptcy Rule 1007(a)(3).

Schedule of Rejected Contracts and Leases means the schedule of Executory Contracts and
Unexpired Leases to be rejected by the Debtor, to be Filed as an Exhibit to the Plan.

Schedule of Retained Causes of Action means the Retained Causes of Action set forth on the
schedule to be Filed as an Exhibit to the Plan.

Secured Claim means a Claim: (a) secured by a Lien on collateral to the extent of the value of
such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code or (b)
subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

Secured Tax Claim means a Secured Claim for taxes held by a Governmental Unit, including
cities, counties, school districts, and hospital districts, (a) entitled by statute to assess taxes based
on the value or use of real and personal property and to obtain an encumbrance against such
property to secure payment of such taxes or (b) entitled to obtain an encumbrance on property to
secure payment of any tax claim specified in Bankruptcy Code section 507(a)(8). Secured Tax
Claims shall not include any such Claims secured by liens / security interests that are avoidable,
unperfected, subject to subordination, or otherwise unenforceable.

Securities Act means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a-77aa, or any
similar federal, state, or local.

Southstar Claims means the Southstar Plaintiffs’ Claims against the Debtor’s Estate in the
Bankruptcy Case.

Southstar Litigation means the litigation initiated by the Southstar Plaintiffs against the Debtor
and Other Defendants related to the construction of the Celebration Apartments. The Southstar
Litigation is styled Southstar Capital Group I, LLC, et al. v. 1662 Multifamily, LLC et al., Case
No. 2018-CA-415OC in the 9th Judicial Circuit for Osceola County, Florida.

Southstar Plaintiffs means Southstar Capital Group I, LLC, Cottington Road TIC, LLC, and
Durban Road TIC, LLC.

Subcontractor Default Insurance Policies means the Debtor’s insurance policies insuring
against the risk of default of the Debtor’s subcontractors.

Subordinated Claim means a Claim that is subordinated to General Unsecured Claims pursuant
to (a) a contract or agreement, (b) a Final Order declaring that such Claim is subordinated in
right or payment, or (c) any applicable provision of the Bankruptcy Code, including Bankruptcy
Code section 510, or other applicable law. Subordinated Claims specifically include any Claim
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for punitive damages provided for under applicable law.

Unexpired Lease means a lease to which the Debtor is a party that is subject to assumption or
rejection under Bankruptcy Code section 365.

Unimpaired means, with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is not impaired within the meaning of Bankruptcy Code section 1124.

Unsecured Claim means a Claim that is not a Secured Claim and that is not entitled to priority
under Bankruptcy Code section 507(a)(1-9). The term specifically includes, pursuant to
Bankruptcy Code section 506(a), any Claim of a creditor against the Debtor to the extent that
such creditor’s Claim is greater than the value of the Lien securing such Claim, any Claim for
damages resulting from rejection of any Executory Contract or Unexpired Lease under
Bankruptcy Code section 365, any tort Claims or contractual Claims or Claims arising from
damage or harm to the environment and, and any Claim not otherwise classified under the Plan.

B.     Rules of Interpretation and Construction of Terms

        For purposes of this Plan: (1) any reference in this Plan to a contract, instrument, release,
indenture, or other agreement or document being in a particular form or on particular terms and
conditions means that such document shall be substantially in such form or substantially on such
terms and conditions; (2) any reference in this Plan to an existing document or Exhibit Filed or to
be Filed means that document or Exhibit as it may have been or may be amended, supplemented,
or otherwise modified; (3) unless otherwise specified, all references in this Plan to Sections or
Articles are references to Sections or Articles of or to this Plan; (4) the words “herein,” “hereto,”
“hereunder,” and other words of similar import refer to this Plan in its entirety rather than to a
particular portion of this Plan; (5) captions and headings contained in the Plan are inserted for
convenience and reference only, and are not intended to be part of or to affect the interpretation
of the Plan; (6) wherever appropriate from the context, each term stated in either the singular or
the plural includes the singular and the plural, and pronouns stated in the masculine, feminine, or
neuter gender shall include the masculine, feminine, and neuter gender; (7) any reference to an
Entity as a Holder of a Claim or Interest includes the Entity’s successors and assigns; (8) any
reference to docket numbers of documents Filed in the Bankruptcy Case are references to docket
numbers under the Bankruptcy Court’s CM/ECF system; and (9) the rules of construction set
forth in Bankruptcy Code section 102 and the Bankruptcy Rules shall apply.

C.     Computation of Time

        All times referenced in this Plan are prevailing Central Time. In computing any period of
time, date, or deadline prescribed or allowed in the Plan, the provisions of Bankruptcy Rule
9006(a) shall apply. If the date on which a transaction may or must occur pursuant to the Plan
shall occur on a day that is not a Business Day, then such transaction shall instead occur on the
next succeeding Business Day.




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D.     Governing Law

        Subject to the provisions of any contract, certificate of incorporation, by-law, instrument,
release, or other agreement or document entered into in connection with the Plan, the rights and
obligations arising pursuant to the Plan shall be governed by, and construed and enforced in
accordance with, applicable federal law, including the Bankruptcy Code and the Bankruptcy
Rules.

E.     Reference to Monetary Figures

      All references in the Plan to monetary figures shall refer to currency of the United States
of America, unless otherwise expressly provided.

F.     Incorporation of Documents by Reference

       This Plan incorporates by reference certain documents relating to the Debtor that are not
presented herein or delivered herewith. The documents that have been Filed in the Bankruptcy
Case are incorporated by reference herein in their entirety, including all amendments thereto
Filed prior to the date set for Confirmation, including the following documents: (a) the Debtor’s
Schedules of Assets and Liabilities [Doc. No. 68] and (b) the Statements of Financial Affairs,
including exhibits [Doc. No. 69], filed on October 5, 2018. Documents and pleadings Filed in
the Bankruptcy Case are available at the following website: http://www.txsb.uscourts.gov.

                                 ARTICLE II.
                 ADMINISTRATIVE CLAIMS AND PRIORITY CLAIMS

        In accordance with Bankruptcy Code section 1123(a)(1), Administrative Claims,
Professional Compensation Claims, DIP Loan Claims, and Priority Tax Claims have not been
classified for purposes of voting on, or receiving distributions under, the Plan, and, thus, are
excluded from the Classes of Claims and Interests set forth in Article III hereof.

A.     Administrative Claims

        Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the
Reorganized Debtor, each Holder of an Allowed Administrative Claim (other than Holders of
Professional Compensation Claims, the DIP Loan Claim, and Claims for fees and expenses
pursuant to section 1930 of chapter 123 of title 28 of the United States Code) will receive in full
and final satisfaction of its Administrative Claim an amount of Cash equal to the amount of such
Allowed Administrative Claim in accordance with the following: (i) if an Administrative Claim
is Allowed on or prior to the Effective Date, on the Effective Date or as soon as reasonably
practicable thereafter; or (ii) if such Administrative claim is not Allowed as of the Effective
Date, no later than ten (10) days after the date on which an order allowing such Administrative
Claim becomes a Final Order, or as soon as reasonably practicable thereafter. Notwithstanding
anything contained in this Article, the Debtor shall, in accordance with the Bankruptcy Court’s
Order Regarding Funds Held in Trust for the Benefit of Subcontractors and Other Vendors
[Doc. No. 27], continue paying its subcontractors and vendors in accordance with approved
practices. For the avoidance of doubt, to the extent a Holder of an Administrative Claim is not


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being paid by the Debtor in the ordinary course, such Holder must File a request for payment of
such Administrative Claim by the Administrative Claim Bar Date as set forth below.

        Except for Professional Compensation Claims, and unless previously Filed, requests for
payment of Administrative Claims must be Filed and served on the Reorganized Debtor no later
than the Administrative Claim Bar Date. Objections to such requests must be Filed and served
on the Reorganized Debtor and the requesting party by the later of (i) thirty (30) days after the
Effective Date or (ii) thirty (30) days after the Filing of the applicable request for payment of the
Administrative Claims, if applicable. After notice and a hearing in accordance with the
procedures established by the Bankruptcy Code and prior Bankruptcy Court orders, the Allowed
amounts, if any, of Administrative Claims shall be determined by, and satisfied in accordance
with a Final Order of, the Bankruptcy Court.

       Holders of Administrative Claims that are required to File and serve a request for such
payment of such Administrative Claims that do not File and serve such request by the
Administrative Claim Bar Date shall be forever barred, estopped, and enjoined from asserting
such Administrative Claims against the Reorganized Debtor or its property, and such
Administrative Claims shall be deemed discharged as of the Effective Date without the need for
any objection from the Reorganized Debtor or any action by the Bankruptcy Court.

B.      DIP Loan Claim

        The DIP Loan Claim shall be Allowed in an amount equal to the amount of such DIP
Loan Claim accrued or incurred as of the Effective Date, without setoff, deduction or
counterclaim, subject to the provisions of the DIP Loan Order and this Plan. On the Effective
Date, except to the extent that the Holder of the Allowed DIP Loan Claim agrees to a less
favorable treatment, the Allowed DIP Loan Claim shall be rolled into the Exit Financing
pursuant to the Exit Financing Documents to be executed between the Debtor and the DIP
Lender. In accordance with the Exit Financing Documents, the DIP Lender has agreed to fund
the Reorganized Debtor’s ongoing post-Confirmation expenses and provide the initial funding
for the Insurance Trust. The Exit Financing shall be secured by the assets of the Reorganized
Debtor, and the DIP Lender shall have and retain its first priority lien and security interest in, to
and against the collateral for all amounts relating to its DIP Loan Claim, including all rights
granted to the DIP Lender in the DIP Loan Agreement and DIP Loan Order.

C.      Professional Compensation Claims

     1. Final Fee Applications and Payment of Professional Compensation Claims

       All requests for payment of Professional Compensation Claims for services rendered and
reimbursement of expenses incurred prior to the Effective Date must be Filed no later than the
Professional Compensation Claim Bar Date. Objections to Professional Compensation Claims
must be Filed and served on the Reorganized Debtor and the Professional to whose application
the objections are addressed no later than the Professional Compensation Claim Objection
Deadline. The Bankruptcy Court shall determine the Allowed amounts of such Professional
Compensation Claims after notice and hearing in accordance with the procedures established by
the Bankruptcy Court. Allowed Professional Compensation Claims shall be paid by the

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Reorganized Debtor in Cash within ten (10) days of the entry of a Final Order allowing such
Claims.

     2. Post Confirmation Fees and Expenses

        Except as otherwise specifically provided in the Plan, from and after the Confirmation
Date, the Reorganized Debtor shall, in the ordinary course of business and without any further
notice to or action, order, or approval of the Bankruptcy Court, pay in Cash the reasonable and
documented legal, professional, or other fees and expenses related to implementation of the Plan
and Consummation incurred by the Debtor. Upon the Confirmation Date, any requirement that
Professionals comply with sections 327 through 331, 363, and 1003 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the
Reorganized Debtor may employ and pay any Professional in the ordinary course of business
without any further notice to or action, order, or approval of the Bankruptcy Court.

D.      Priority Tax Claims

        To the extent that the Holders of Allowed Priority Tax Claims have not already been
paid, satisfied or otherwise released prior to the Effective Date, and except to the extent that a
Holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in full and final
satisfaction, settlement, release, and discharge of any in exchange for each Allowed Priority Tax
Claim, shall receive from the Reorganized Debtor on the later of (i) the Effective Date; (ii) the
date such Priority Tax Claim becomes an Allowed Claim; (iii) the date on which such Allowed
Priority Tax Claim first becomes due and payable; or (iv) as soon thereafter as is reasonably
practicable, an amount in Cash equal to the unpaid amount of such Allowed Priority Tax Claim;
provided, however, that the Reorganized Debtor shall have the right to pay any Allowed Priority
Tax Claim, or the remaining balance of such Claim, in full in Cash at any time on or after the
Effective Date, without premium or penalty.

                              ARTICLE III.
         CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.      Classification in General

         Except for the Claims addressed in Article II of the Plan, all Claims and Interests are
classified in the Classes set forth below in accordance with section 1122 and 1123(a)(1) of the
Bankruptcy Code. A Claim or an Interest is classified in a particular Class only to the extent that
the Claim or Interest qualifies within the description of that Class and is classified in other
Classes to the extent that any portion of the Claim or Interest qualifies within the description of
such other Classes. A Claim or an Interest also is classified in a particular Class for the purpose
of receiving distributions under the Plan only to the extent that such Claim or Interest is an
Allowed Claim or Allowed Interest in that Class and has not been paid, released, or otherwise
satisfied.




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B.           Summary of Classification of Claims and Interests

             The classification of Claims and Interests against the Debtor pursuant to the Plan is as
follows:

     Class                Claims and Interests                   Status             Voting Rights

 Class 1        Allowed Priority Non-Tax                      Unimpaired         Not Entitled to Vote

 Class 2        Prepetition Secured Loan Claim                Unimpaired         Not Entitled to Vote

 Class 3        Allowed Claims of Litigation Creditors        Unimpaired         Not Entitled to Vote

 Class 4        Allowed Non-Southstar Warranty Claims         Unimpaired         Not Entitled to Vote

 Class 5        Allowed General Unsecured Claims              Unimpaired         Not Entitled to Vote

 Class 6        Equity Interests                              Unimpaired         Not Entitled to Vote



C.           Treatment of Claims and Interests

      1. Class 1 – Except to the extent that a Holder of an Allowed Priority Non-Tax Claim
         agrees to a less favorable treatment, each Holder of an Allowed Priority Non-Tax Claim
         shall receive, on or after the Effective Date, in full and final satisfaction, compromise,
         settlement, release, and discharge of and in exchange for each Priority Non-Tax Claim,
         (i) payment in full in Cash of its Allowed Class 1 Claim; or (ii) such other treatment as is
         consistent with the requirements of Bankruptcy Code section 1129(a)(9).

             Class 1 is Unimpaired under the Plan. Holders of Allowed Claims in Class 1 are
             conclusively presumed to have accepted the Plan, and solicitation of acceptances with
             respect to such Class is not required.

      2. Class 2 – Except to the extent that the Holder of the Allowed Prepetition Secured Loan
         Claim agrees to a less favorable treatment, on the Effective Date, the Allowed Prepetition
         Secured Loan Claim shall be rolled into the Exit Financing pursuant to the Exit Financing
         Documents, without setoff, deduction or counterclaim. Pursuant to the terms of the Exit
         Financing agreement, POC Holdings 2, Inc., as the Holder of the Allowed Prepetition
         Secured Loan Claim and the Allowed DIP Loan Claim, will fund the Debtor’s ongoing
         post-Confirmation expenses and provide the initial funding for the UOB Insurance Trust.
         The Exit Financing shall be secured by the assets of the Debtor, and POC Holdings 2,
         Inc. shall have and retain its first priority lien and security interest in, to and against the
         collateral for all amounts relating to its Allowed Prepetition Secured Loan Claim.

             Class 2 is Unimpaired under the Plan. Holders of Allowed Claims in Class 2 are
             conclusively presumed to have accepted the Plan, and solicitation of acceptances with
             respect to such Class is not required.

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3. Class 3 – Class 3 shall consist of the Allowed Claims of all the Debtor’s Litigation
   Creditors, including the Southstar Plaintiffs’ and Other Defendants’ Claims against the
   Debtor’s Estate as a result of the Southstar Litigation. On the Effective Date, except to
   the extent that a Holder of an Allowed Class 3 Claim agrees to a less favorable treatment,
   Holders of Allowed Class 3 Claims shall receive, in full and final satisfaction,
   compromise, settlement, release, and discharge of and in exchange for each Class 3
   Claim, an interest in the UOB Insurance Trust in accordance with the Insurance Trust
   Agreement. Distributions to such Holders of Allowed Class 3 Claims shall be distributed
   by the Insurance Trustee in accordance with the Insurance Trust Agreement.

   Class 3 is Unimpaired under the Plan. Holders of Allowed Claims in Class 3 are
   conclusively presumed to have accepted the Plan, and solicitation of acceptances with
   respect to such Class is not required.

4. Class 4 – On the Effective Date, except to the extent that a Holder of an Allowed Class 4
   Claim agrees to a less favorable treatment, all Class 4 Claims shall be assumed by the
   Reorganized Debtor, and such Holders of Allowed Class 4 Claims shall receive, in full
   and final satisfaction, compromise, settlement, release and discharge of and in exchange
   for each Class 4 Claim, payment in full in Cash, without interest, of its Allowed Class 4
   Claim; provided, however, that the Reorganized Debtor reserves the right to perform the
   warranty work made the basis of any Class 4 Claim. To the extent the Reorganized
   Debtor, in its sole discretion, elects to perform such warranty work, the Holder of the
   Allowed Class 4 Claim shall not be entitled to a distribution on account of the Class 4
   Claim.

   Class 4 is Unimpaired under the Plan. Holders of Allowed Claims in Class 4 are
   conclusively presumed to have accepted the Plan, and solicitation of acceptances with
   respect to such Class is not required.

5. Class 5 – On the Effective Date, and except to the extent that a Holder of an Allowed
   General Unsecured Claim agrees to a less favorable treatment, each Holder of an
   Allowed General Unsecured Claim shall receive, in full and final satisfaction,
   compromise, settlement, release, and discharge of and in exchange for each Class 5
   Claim, payment in full in Cash of its Allowed General Unsecured Claim.

   Class 5 is Unimpaired under the Plan. Holders of Allowed Claims in Class 5 are
   conclusively presumed to have accepted the Plan, and solicitation of acceptances with
   respect to such Class is not required.

6. Class 6 – Holders of Equity Claims and Interests in the Debtor shall retain their equity in
   the Debtor.

   Class 6 is Unimpaired under the Plan. Holders of Allowed Claims in Class 6 are
   conclusively presumed to have accepted the Plan, and solicitation of acceptances with
   respect to such Class is not required.



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D.      Special Provision Governing Unimpaired Claims

        Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtor’s
rights with respect to any Unimpaired Claims, including, all rights in respect of legal and
equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.

E.      Elimination of Vacant Classes

         Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or
Allowed Interest or a Claim or Interests temporarily Allowed by the Bankruptcy Court as of the
date of the Confirmation Hearing shall be deemed eliminated from the Plan.

F.      No Voting Classes

          The Plan provides for payment in full to Holders of Allowed Claims, and each Class of
Claims classified under the Plan is Unimpaired. Pursuant to section 1126(f) of the Bankruptcy
Code, a class that is not impaired under a plan, and each holder of a claim or interest within such
class, are conclusively presumed to have accepted the plan, and solicitation of acceptances with
respect to such class from the holders of claims or interests of such class is not required. As a
result, the Debtor is not soliciting acceptances of the Plan.

G.      Controversy Concerning Impairment

         If any controversy arises as to whether any Claims or Interests, or any Class of Claims or
Interests, are Impaired, the Bankruptcy Court shall, after notice and hearing, determine such
controversy in accordance with the confirmation procedures provided in the Court’s Order
Granting Debtor’s Expedited Motion for Entry of an Order (I) Approving Form of Mailing
Materials; (II) Approving Request to Establish Estimation Procedures; and (III) Setting
Scheduling Conference [Doc. No. ___]. Failure to timely File an objection in the Bankruptcy
Case shall result in such Person or Entity waiving any objection to the Impairment classifications
set forth in the Plan.

 H.     Subordinated Claims

         The allowance, classification, and treatment of all Allowed Claims and Allowed Interests
and the respective distributions and treatments under the Plan take into account and conform to
the relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal, and equitable subordination rights relating thereto, whether arising under
general principles of equitable subordination, section 510(b) of the Bankruptcy Code, or
otherwise. Pursuant to section 510 of the Bankruptcy Code, the Reorganized Debtor reserves the
right to re-classify any Allowed Claim or Interest in accordance with any contractual, legal, or
equitable subordination relating thereto.

I.      No Waiver

         Nothing contained in the Plan shall be construed to waive the Debtor’s or other Person’s
right to object on any basis to any Claim or Interest.


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                                  ARTICLE IV.
                     MEANS FOR IMPLEMENTATION OF THE PLAN

A.      Corporate Existence

        Except as otherwise provided in the Plan, the Debtor shall continue to exist after the
Effective Date as a separate limited liability company with all the powers of a limited liability
company pursuant to the applicable law in the jurisdiction in which the Debtor is formed and
pursuant to the respective by-laws (or other formation documents) in effect prior to the Effective
Date, except to the extent such by-laws (or other formation documents) are amended under the
Plan or otherwise. To the extent such documents are amended, they are deemed to be amended
pursuant to the Plan and require no further action or approval (other than any requisite filings
required under applicable state, or federal law).

B.      Reorganized Debtor

        On the Effective Date, the Reorganized Debtor shall have the authority to adopt any other
agreements, documents, and instruments and to take any other actions contemplated under the
Plan as necessary to consummate the Plan and establish the UOB Insurance Trust.

C.      Directors and Officers of the Reorganized Debtor

         On the Effective Date, the Current Directors and Officers of the Debtor shall be
established as the Directors and Officers of the Reorganized Debtor.

D.      Vesting of Assets in the Reorganized Debtor

         On the Effective Date all property in the Estate, all Retained Causes of Action, and any
property acquired by the Debtor pursuant to the Plan shall vest in the Reorganized Debtor, free
and clear of all Liens, Claims, charges, or other encumbrances, except those Liens granted under
any agreement, instrument, or other document incorporated in the Plan, including the Exit
Financing Documents, or as otherwise provided for in the Plan; provided, however, that as set
forth in Article IV.G of the Plan, the Insurance Trust Assets shall be transferred to the Insurance
Trust pursuant to the Insurance Trust Agreement. For the avoidance of doubt, only the claims of
the Debtor’s Estate to the Insurance Proceeds under the Inception CIP resulting from the claims
asserted and potential for liability in the Southstar Litigation are included in the Insurance Trust
Assets. All other rights, interests, or claims of the Debtor’s Estate that could be asserted pursuant
to any other insurance policy, CIP, or Subcontractor Default Insurance Policy shall vest in the
Reorganized Debtor.

         On and after the Effective Date, the Reorganized Debtor may operate its business and
may use, acquire, or dispose of property and compromise or settle any Claims, Interests, or
Retained Causes of Action without supervision or approval by the Bankruptcy Court and free of
any restrictions of the Bankruptcy Code or Bankruptcy Rules.




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E.      Establishment of the UOB Insurance Trust

         On the Effective Date, the Insurance Trustee shall sign the Insurance Trust Agreement
and, in his or her capacity as Insurance Trustee, accept all Insurance Trust Assets on behalf of the
beneficiaries thereof, and be authorized to obtain, seek the turnover, liquidate, and collect all of
the Insurance Trust Assets not in his or her possession. The Insurance Trust will then be deemed
created and effective without any further action by the Bankruptcy Court or any Person as of the
Effective Date. Thereupon, and except as expressly provided in the Plan or Insurance Trust
Agreement, the Debtor shall not have any interest in or with respect to the Insurance Trust Assets.
For the avoidance of doubt, the Reorganized Debtor shall be entitled to the Insurance
Reimbursement Claim.

         The UOB Insurance Trust shall be established for the purposes of (1) liquidating the
Insurance Trust Assets; (2) prosecuting and resolving the Southstar Litigation, the Southstar
Claims, and the related Coverage Litigation; (3) resolving the Other Defendants’ Claims; (4)
maximizing recovery of the Insurance Trust Assets for the benefit of the beneficiaries thereof; and
(5) distributing the proceeds of the Insurance Trust Assets to the beneficiaries in accordance with
this Plan and the Insurance Trust Agreement, with no objective to continue or engage in the
conduct of a trade or business, except only in the event and to the extent necessary for, and
consistent with, the litigation purposes of the Insurance Trust.

F.      Appointment of Insurance Trustee

        The Insurance Trustee shall be selected by the Debtor, approved by the Bankruptcy
Court, and appointed pursuant to the Confirmation Order. Following appointment, the Insurance
Trustee shall act only in accordance with the Plan and the Insurance Trust Agreement, and in such
capacity shall have the same powers as the board of directors and officers of the Debtor, subject
to the provisions hereof and of the Insurance Trust Agreement (and all bylaws and related
corporate documents are deemed amended by this Plan to permit and authorize the same). The
Insurance Trustee shall continue to perform his or her duties until all proceeds of the Insurance
Trust Assets have been fully liquidated and distributed. The selection of any successor Insurance
Trustee, if necessary, shall be made by the Bankruptcy Court in accordance with the Insurance
Trust Agreement after notice and a hearing.

G.      Vesting and Transfer of Insurance Trust Assets to the UOB Insurance Trust

         Pursuant to section 1141(b) of the Bankruptcy Code, the Insurance Trust Assets shall vest
in the Insurance Trust free and clear of all liens, Claims and Interests, except as otherwise
specifically provided in this Plan or in the Confirmation Order. The Insurance Trust Assets
include all of the Debtor’s claims against, and interests in, the Insurance Proceeds under the
Inception CIP resulting from the claims asserted and potential for liability in the Southstar
Litigation. The foregoing constitutes the only Estate asset to be included in the Insurance Trust
Assets.




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H.      Insurance Trust Expenses

         Subject to the provisions of the Insurance Trust Agreement, all costs, expenses and
obligations incurred by the Insurance Trustee in administering the applicable provisions of this
Plan, the Insurance Trust, or in any manner connected, incidental or related thereto, in effecting
distributions from the Insurance Trust shall be a charge against the Insurance Trust Assets
remaining from time to time in the hands of the Insurance Trustee. Such expenses shall be paid in
accordance with the provisions of this Plan and the Insurance Trust Agreement.

I.      Beneficiaries of the Insurance Trust and Priority of Distributions

        The UOB Insurance Trust shall be a waterfall trust. Except as provided in the Plan and
Insurance Trust Agreement with respect to repayment of the Exit Financing and Insurance
Reimbursement Claim, Holders of Allowed Class 3 Claims entitled to distributions shall be the
only beneficiaries of the Insurance Trust. Such beneficiaries shall be bound by the Insurance
Trust Agreement. The interests of the beneficiaries in the Insurance Trust shall be uncertificated
and nontransferable. Distributions from the Insurance Trust shall be made in accordance with the
following priorities: (i) payment of the reimbursable expenses of the Insurance Trustee, (ii)
repayment of the funding for the UOB Insurance Trust provided by POC Holdings 2, Inc., (iii)
payment of Allowed Class 3 Claims, and (iv) payment of the Insurance Reimbursement Claim.

J.      Preservation of Right to Conduct Investigations

         The preservation for the Insurance Trust of any and all rights to conduct investigations
pursuant to Bankruptcy Rule 2004 is necessary and relevant to the liquidation and administration
of the Insurance Trust Assets. Accordingly, the Insurance Trustee shall have the same rights as
the Debtor to conduct investigations pursuant to Bankruptcy Rule 2004 as those held by the
Debtor prior to the Effective Date. Such powers to investigation pursuant to Bankruptcy Rule
2004 shall vest with the Insurance Trustee and shall continue until dissolution of the Insurance
Trust.

K.      Federal Income Tax Treatment of Insurance Trust for the Insurance Trust Assets

         For federal income tax purposes, it is intended that the Insurance Trust be classified as a
liquidating trust under section 301.7701-4 of the Treasury regulations and that such trust be
owned by its beneficiaries. Accordingly, for federal income tax purposes, it is intended that the
beneficiaries be treated as if they had received a distribution from the Debtor’s Estate of an
undivided interest in each of the Insurance Trust Assets (to the extent of the value of their
respective share in the applicable assets) and then contributed such interests to the Insurance
Trust, and the Insurance Trust’s beneficiaries will be treated as grantors and owners thereof.

L.      Termination of the Insurance Trust

         The Insurance Trust shall terminate upon the date on which all of the Insurance Trust
Assets are liquidated in accordance with the Plan, the Insurance Proceeds have been completely
distributed in accordance with the Plan, all tax returns and any other filings or reports have been


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filed with the appropriate state or federal regulatory authorities, and the order closing the
Bankruptcy Case is a Final Order.

M.      Corporate Action of the Debtor

       On the Effective Date, all actions contemplated under the Plan shall be deemed
authorized and approved in all respects, including (1) the execution of the Insurance Trust
Agreement and transfer of the Insurance Trust Assets to the Insurance Trust; (2) the rejection,
assumption, or assumption and assignment, as applicable, of Executory Contracts and Unexpired
Leases; and (3) all other acts or actions contemplated or reasonably necessary or appropriate to
promptly consummate the Plan (whether to occur before, on, or after the Effective Date).

        All matters provided for in the Plan involving the corporate structure of the Debtor or the
Reorganized Debtor, and any corporate action required by the Debtor or the Reorganized Debtor,
as applicable, in connection with the Plan shall be deemed to have occurred and shall be in
effect, without any requirement of further action by security holders, directors, or officers of the
Debtor or the Reorganized Debtor, as applicable. On or prior to the Effective Date, the Directors
and Officers of the Debtor shall be authorized and (as applicable) directed to issue, execute, and
deliver the agreements, documents, securities, and instruments contemplated under the Plan (or
necessary or desirable to effect the transactions contemplated under the Plan) in the name of and
on behalf of the Reorganized Debtor. The authorizations and approvals contemplated by Article
IV of the Plan shall be effective notwithstanding any requirements under non-bankruptcy law.

N.      Effectuating Documents; Further Transactions

         Except as otherwise provided for in the Plan with respect to Secured Claims arising under
the DIP Loan Agreement or the Prepetition Secured Loan, on and after the Effective Date, the
Reorganized Debtor, and the Directors and Officers, are authorized to and may issue, execute,
deliver, File, or record such contracts, securities, instruments, releases, and other agreements or
documents and take such actions as may be necessary to effectuate, implement, and further
evidence the terms and conditions of the Plan in the name of and on behalf of the Reorganized
Debtor, without the need for any approvals, authorization, or consents, except for those expressly
required pursuant to the Plan.

O.      Retained Causes of Action

         Except as otherwise provided in the Plan, Plan Documents, Insurance Trust Agreement,
or in any other contract, instrument, release, or other agreement entered into in connection with
the Plan, in accordance with Bankruptcy Code section 1123(b)(3), the Reorganized Debtor shall
retain and shall have the exclusive right, authority, and discretion to (without further order of the
Bankruptcy Court) determine and to initiate, File, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any and all Retained Causes of Action that
the Debtor or the Estate may hold against any Entity, whether arising before or after the Petition
Date. The Debtor reserves and shall retain the foregoing Retained Causes of Action
notwithstanding the rejection of any Executory Contract or Unexpired Lease during the
Bankruptcy Case.


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                             ARTICLE V.
        TREATMENT OF EXECUTORY CONTRACS AND UNEXPIRED LEASES

A.      Assumption and Rejection of Executory Contracts and Unexpired Leases

       On the Effective Date, except as otherwise provided in the Plan or Plan Documents, all
Executory Contracts or Unexpired Leases that currently exist between the Debtor and another
Person or Entity, and are not listed on the Schedule of Rejected Contracts, shall be deemed
assumed by the Debtor with a cure amount of zero dollars ($0.00) unless they (i) were previously
assumed or rejected by the Debtor; or (2) are subject to a motion to reject Executory Contracts or
Unexpired Leases that is pending on the Confirmation Date.

         Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order
approving the assumptions or rejections of the Executory Contracts and Unexpired Leases set
forth in the Schedule of Rejected Contracts and Leases pursuant to sections 365(a) and 1123 of
the Bankruptcy Code. Any motions to assume Executory Contracts or Unexpired Leases pending
on the Effective Date shall be subject to approval by the Bankruptcy Court on or after the
Effective Date by a Final Order. Each Executory Contract and Unexpired Lease assumed
pursuant to Article V.A of the Plan or by any order of the Bankruptcy Court, which has not been
assigned to a third party prior to the Confirmation Date, shall re-vest in and be fully enforceable
by the Reorganized Debtor in accordance with its terms, except as such terms are modified by the
provisions of the Plan or any order of the Bankruptcy Court authorizing and providing for its
assumption under applicable federal law. Notwithstanding anything to the contrary in the Plan,
the Debtor or the Reorganized Debtor, as applicable, reserves the right to alter, amend, modify, or
supplement the Schedules identified in the Plan at any time through and including sixty (60) days
after the Effective Date.

B.      Indemnification Obligations

         All indemnification provisions, consistent with applicable law, currently in place
(whether in the by-laws, certificates of incorporation or formation, limited liability company
agreements, other organizational documents, board resolutions, indemnification agreements,
employment contracts, or otherwise) for the Current Directors and Officer, managers, employees,
attorneys, accountants, investment bankers, and other Professionals of the Debtor, as applicable,
shall be reinstated and remain intact, irrevocable, and shall survive the Effective Date on terms no
less favorable to such Current Directors and Officers, managers, employees, attorneys,
accountants, investment bankers, and other Professionals of the Debtor than the indemnification
provisions in place prior to the Effective Date.

C.      Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim,
with respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases,
pursuant to the Plan or the Confirmation Order, if any, must be Filed with the Bankruptcy Court
within 30 days after the later of (1) the date of entry of any order of the Bankruptcy Court
(including the Confirmation Order) approving such rejection, (2) the effective date of such
rejection, (3) the Effective Date, or (4) the date after the Effective Date that the applicable

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Schedules are altered, amended, modified, or supplemented, but only with respect to any
Executory Contract or Unexpired Lease thereby affected. Any Claims arising from the rejection
of an Executory Contract or Unexpired Lease not Filed with the Bankruptcy Court within such
time will be automatically disallowed, forever barred from assertion, and shall not be enforceable
against the Debtor or the Reorganized Debtor, the Estate, or their property without the need for
any objection by the Reorganized Debtor or further notice to, or action, order, or approval of the
Bankruptcy Court or any other Entity, and any Claim arising out of the rejection of the Executory
Contract or Unexpired Lease shall be deemed fully satisfied, released, and discharged,
notwithstanding anything in the Schedules or a Proof of Claim to the contrary. All Allowed
Claims arising from the rejection of the Debtor’s Executory Contracts or Unexpired Leases shall
be classified as General Unsecured Claims and shall be treated in accordance with Article III.C.5
hereof.

D.      Cure of Defaults for Executory Contracts and Unexpired Leases Assumed

         Any monetary defaults under each Executory Contract and Unexpired Lease to be
assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
Code, by payment of the default amount in Cash on the Effective Date, subject to the limitation
described below, or on such other terms as the parties to such Executory Contracts or Unexpired
Leases may otherwise agree. In the event of a dispute regarding (1) the amount of any payments
to cure such a default, (2) the ability of the Reorganized Debtor or any assignee to provide
“adequate assurance of future performance” (within the meaning of section 365 of the Bankruptcy
Code) under the Executory Contract or Unexpired Lease to be assumed, or (3) any other matter
pertaining to assumption, the cure payments required by section 365(b)(1) of the Bankruptcy
Code shall be made following the entry of a Final Order or orders resolving the dispute and
approving the assumption. The Debtor shall provide for notices of proposed assumption and
proposed cure amounts and for procedures for objecting thereto and resolution of disputes by the
Bankruptcy Court.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall result in the full release and satisfaction of any Claims or defaults, whether
monetary or nonmonetary, including defaults of provisions restricting the change in control or
ownership interest composition or other bankruptcy-related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time prior to the effective date of assumption. Any
Proofs of Claim Filed with respect to an Executory Contract or Unexpired Lease that has been
assumed shall be deemed disallowed and expunged, without further notice to or action, order, or
approval of the Bankruptcy Court.

E.      Preexisting Obligations to the Debtor under Executory Contracts and Unexpired
        Leases

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall not constitute a termination of preexisting obligations owed to the Debtor or the
Reorganized Debtor, as applicable, under such Executory Contracts or Unexpired Leases. In
particular, notwithstanding any non-bankruptcy law to the contrary, the Reorganized Debtor
expressly reserves and does not waive any right to receive, or any continuing obligation of a
counterparty to provide, warranties or continued maintenance obligations on goods previously

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purchased by the Debtor contracting from non-Debtor counterparties to rejected Executory
Contracts or Unexpired Leases.

F.      Modifications, Amendments, Supplements, Restatements, or Other Agreements

         Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that
is assumed shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and all
Executory Contracts and Unexpired Leases related thereto, if any, including all easements,
licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
interests, unless any of the foregoing agreements has been previously rejected or repudiated or is
rejected or repudiated under the Plan.

G.      Reservation of Rights

        Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the
Schedule of Rejected Contracts and Leases, nor anything contained in the Plan, shall constitute an
admission by the Debtor that any such contract or lease is in fact an Executory Contract or
Unexpired Lease or that the Reorganized Debtor has any liability thereunder. If there is a dispute
regarding whether a contract or lease is or was executory or unexpired at the time of assumption
or rejection, the Debtor or Reorganized Debtor, as applicable, shall have thirty (30) days
following entry of a Final Order resolving such dispute to alter the treatment of such contract or
lease under the Plan.

H.      Nonoccurrence of Effective Date

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
jurisdiction with respect to any request to extend the deadline for assuming or rejecting Executory
Contracts and Unexpired Leases pursuant to section 365(d)(4) of the Bankruptcy Code.

I.      Contracts and Leases Entered Into After the Petition Date

         Contracts and leases entered into after the Petition Date, if any, including any Executory
Contract and Unexpired Leases assumed by the Debtor during the Bankruptcy Case, will be
performed by the Debtor in the ordinary course of business. Accordingly, such contracts and
leases (including any assumed Executory Contracts and Unexpired Leases) will survive and
remain unaffected by entry of the Confirmation Order.

                                   ARTICLE VI.
                       PROVISIONS GOVERNING DISTRIBUTIONS

A.      Timing and Calculation of Distributions

        As soon as reasonably practicable (as determined by the Debtor) after the Effective Date,
in accordance with Articles II and III hereof, the Reorganized Debtor shall make distributions to
Holders of Allowed Administrative Expense Claims (including Allowed Professional
Compensation Claims), Allowed Priority Non-Tax Claims in Class 1, Allowed Non-Southstar
Warranty Claims in Class 4, and Allowed General Unsecured Claims in Class 5.
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         Unless otherwise provided in the Plan, on the Effective Date or as soon as reasonably
practicable thereafter (or if a Claim is not an Allowed Claim or Allowed Interest on the Effective
Date, on the date that such Claim or Interest becomes an Allowed Claim or Allowed Interest),
each Holder of an Allowed Claim shall receive the full amount of the distributions that the Plan
provides for Allowed Claims or Allowed Interests (as applicable) in the applicable Class. In the
event that any payment or act under the Plan is required to made or performed on a date that is not
a Business Day, then the making of such payment or the performance of such act may be
completed on the next succeeding Business Day, but shall be deemed to have been completed as
of the required date. If and to the extent that there are Disputed Claims, distributions on account
of any such Disputed Claims shall be made pursuant to the provisions set forth in Article VI.E of
the Plan. Except as otherwise provided in the Plan, Holders of Claims or Interests shall not be
entitled to interest, dividends, or accruals on the distributions provided for in the Plan, regardless
of whether such distributions are delivered on or at any time after the Effective Date.

B.        Rights and Powers of the Reorganized Debtor to Make Distributions

        Subject to Article IV of the Plan, all distributions under the Plan, except those from the
Insurance Trust, shall be made by the Reorganized Debtor. The Reorganized Debtor shall not be
required to give any bond or surety or other security for the performance of its duties unless
otherwise ordered by the Bankruptcy Court.

       The Reorganized Debtor shall be empowered to: (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties under the Plan; (b)
make all distributions contemplated hereby; and (c) exercise such powers as may be vested in the
Reorganized Debtor by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Reorganized Debtor to be necessary and proper to implement the provisions hereof.

C.        Delivery of Distributions and Undeliverable or Unclaimed Distributions

     1.   Record Date for Distribution

        As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims or Interests as maintained by the Debtor or its respective agents
shall be closed, and the Debtor or its respective agents shall not be required to make any further
changes in the record holders of any of the Claims or Interests. The Debtor shall have no
obligation to recognize any transfer of the Claims or Interests occurring on or after the
Distribution Record Date. The Debtor shall be entitled to recognize and deal for all purposes
hereunder only with those record holders stated on the transfer ledgers as of the close of business
on the Distribution Record Date, to the extent applicable.

     2.   Delivery of Distributions in General

        Except as otherwise provided herein, the Debtor shall make distributions to Holders of
Allowed Claims and Allowed Interests (as applicable) as of the Distribution Record Date at the
address for each such Holder as indicated on the Debtor’s records as of the date of any such
distribution: provided, however, that the manner of such distributions shall be determined at the

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discretion of the Reorganized Debtor; provided further, however, that the address for each
Holder of an Allowed Claim shall be deemed to be the address set forth in any Proof of Claim
Filed by that Holder.

     3.   Minimum Distributions

        To the extent Cash is distributed under the Plan, no Cash payment of less than $50.00
shall be made to a Holder of an Allowed Claim on account of such Allowed Claim, and such
amounts shall be retained by the Reorganized Debtor.

     4.   Undeliverable Distributions and Unclaimed Property

        In the event that any distribution to any Holder of Allowed Claims or Allowed Interests
(as applicable) is returned as undeliverable, no distribution to such Holder shall be made unless
and until the Debtor has determined the then-current address of such Holder, at which time such
distribution shall be made to such Holder without interest; provided, however, that such
distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code
at the expiration of one year from the Effective Date. After such date, all unclaimed property or
interests in property shall revert to the Reorganized Debtor automatically and without need for a
further order by the Bankruptcy Court (notwithstanding any applicable federal, provincial or
state escheat, abandoned, or unclaimed property laws to the contrary), and the Claim of any
Holder of Claims and Interests to such property or Interest in property shall be discharged and
forever barred.

D.        Manner of Payment

      1. All distributions of Cash to the Holders of Allowed Claims under the Plan shall be made
         by the Reorganized Debtor on behalf of the Debtor.

      2. At the option of the Reorganized Debtor, any Cash payment to be made hereunder may be
         made by check or wire transfer or as otherwise required or provided in applicable
         agreements.

E.        Distributions to Holders of Disputed Claims

       Except as otherwise provided in the Plan or Litigation Trust Agreement, distributions on
account of Disputed Claims shall be withheld by the Debtor until such Claims have been either
Allowed or Disallowed. To the extent a Disputed Claim becomes Allowed the distribution
reserved for such Claim shall be distributed to the Holder thereof. To the extent a Disputed
Claim becomes Disallowed, the distribution reserved for such Claim shall revert to the
Reorganized Debtor automatically and without need for a further order by the Bankruptcy Court

F.        Compliance with Tax Requirements

       In connection with the Plan, to the extent applicable, the Reorganized Debtor shall
comply with all tax withholding and reporting requirements imposed on them by any
Governmental Unit, and all distributions made pursuant to the Plan shall be subject to such
withholding and reporting requirements. Notwithstanding any provision in the Plan to the
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 contrary, the Reorganized Debtor shall be authorized to take all actions necessary to comply with
 such withholding and reporting requirements, including liquidating a portion of the distribution
 to be made under the Plan to generate sufficient funds to pay applicable withholding taxes,
 withholding distributions pending receipt of information necessary to facilitate such
 distributions, or establishing any other mechanisms it believes are reasonable and appropriate.
 The Reorganized Debtor reserves the right to allocate all distributions made under the Plan in
 compliance with all applicable wage garnishments, alimony, child support, and other spousal
 awards, liens, and encumbrances.

G.      Allocations

        Distributions with respect to Allowed Claims shall be allocated first to the principal
amount of such Claims (as determined for federal income tax purposes) and then, to the extent the
consideration exceeds the principal amount of the Claims, to any portion of such Claims for
accrued but unpaid interest.

H.      No Post-Petition Interest on Claims

         Unless otherwise specifically provided for in the Plan or the Confirmation Order, or
required by applicable bankruptcy and non-bankruptcy law, post-petition interest shall not accrue
or be paid on any prepetition Claims against the Debtor, and no Holder of a prepetition Claim
against the Debtor shall be entitled to interest accruing on or after the Petition Date on any such
prepetition Claim.

I.      Foreign Currency Exchange Rate

        Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any
 Claim asserted in currency other than U.S. dollars shall be automatically deemed converted to
 the equivalent U.S. dollar value using the exchange rate for the applicable currency as published
 in The Wall Street Journal, National Edition, on the Petition Date.

J.      Setoffs and Recoupment

         Except as expressly provided in the Plan, the Reorganized Debtor may, pursuant to
section 553 of the Bankruptcy Code, set off and/or recoup against any Plan distributions to be
made on account of any Allowed Claim, any and all claims, rights, and Causes of Action that the
Reorganized Debtor may hold against the Holder of such Allowed Claim to the extent such setoff
or recoupment is either (1) agreed in amount by the Reorganized Debtor and Holder of Allowed
Claim or (2) otherwise adjudicated by the Bankruptcy Court or another court of competent
jurisdiction; provided, however, that neither the failure to effectuate a setoff or recoupment nor
the allowance of any Claim hereunder shall constitute a waiver or release by the Reorganized
Debtor or its successor of any and all claims, rights, and Causes of Action that such Reorganized
Debtor or its successor may possess against the applicable Holder. In no event shall any Holder
of Claims against, or Interests in, the Debtor be entitled to recoup any such Claim or Interest
against any claim, right, or Cause of Action of the Debtor or the Reorganized Debtor, as
applicable, unless such Holder has actually performed such recoupment and provided notice
thereof in writing to the Debtor in accordance with Article XII.F of the Plan on or before the

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Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that such
Holder asserts, has, or intends to preserve any right of recoupment.

K.        Claims Paid or Payable by Third Parties

     1.   Claims Paid by Third Parties

         The Debtor or the Reorganized Debtor, as applicable, shall reduce in full a Claim, and
such Claim shall be disallowed without a Claim objection having to be Filed and without any
further notice to or action, order, or approval of the Bankruptcy Court, to the extent that the
Holder of such Claim receives payment in full on account of such Claim from a party that is not
the Debtor or Reorganized Debtor. Subject to the last sentence of this paragraph, to the extent a
Holder of a Claim receives a distribution on account of such Claim and receives payment from a
party that is not the Debtor or Reorganized Debtor on account of such Claim, such Holder shall,
within fourteen (14) days of receipt thereof, repay or return the distribution to the Reorganized
Debtor, to the extent the Holder’s total recovery on account of such Claim from the third party
under the Plan exceeds the amount of such Claim as of the date of any such distribution under the
Plan. The failure of such Holder to timely repay or return such distribution shall result in the
Holder owing the applicable Reorganized Debtor annualized interest at the Federal Judgment Rate
on such amount owed for each Business Day after the 14-day grace period specified above until
the amount is repaid.

     2.   Claims Payable by Third Parties

        No distributions under the Plan shall be made on account of an Allowed Claim that is
payable pursuant to one of the Debtor’s insurance policies until the Holder of such Allowed
Claim has exhausted all remedies with respect to such insurance policy. To the extent that one or
more of the Debtor’s insurers agrees to satisfy in full or in part a Claim (if and to the extent
adjudicated by a court of competent jurisdiction), then immediately upon such insurers’
agreement, the applicable portion of such Claim may be expunged without a Claims objection
having to be Filed and without any further notice to or action, order, or approval of the
Bankruptcy Court.

     3.   Applicability of Insurance Policies

         Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims
shall be in accordance with the provisions of any applicable insurance policy. Nothing contained
in the Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtor or any
Entity may hold against any other Entity, including insurers under any policies of insurance, nor
shall anything contained herein constitute or be deemed a waiver by such insurers of any
defenses, including coverage defenses, held by such insurers.




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                                    ARTICLE VII.
                       PROCEDURES FOR RESOLVING CONTINGENT,
                         UNLIQUIDATED, AND DISPUTED CLAIMS

A.        Claims Administration Responsibilities

          Except as otherwise specifically provided in the Plan or Insurance Trust Agreement, after
the Effective Date, the Reorganized Debtor, with respect to all Claims and Interests in Classes 1,
2, 4, 5, and 6, shall have the authority to: (1) File, withdraw, or litigate to judgment, objections to
Claims or Interests; (2) settle or compromise any Disputed Claim without any further notice to or
action, order, or approval by the Bankruptcy Court; and (3) administer and adjust the Claims
Register to reflect any such settlements or compromises without any further notice to or action,
order, or approval by the Bankruptcy Court. After the Effective Date, the Reorganized Debtor
shall have and retain any and all rights and defenses the Debtor had with respect to any Interests
or Claims, other than General Unsecured Claims, immediately prior to the Effective Date.

         Except as otherwise specifically provided in the Plan or Insurance Trust Agreement
(including, for the avoidance of doubt, Article VII.B. of the Plan), after the Effective Date, the
Insurance Trustee, with respect to all Claims in Class 3, shall have authority to: (1) File,
withdraw, or litigate to judgment, objections to Claims; (2) settle or compromise any Class 3
Claim without any further notice to or action, order, or approval by the Bankruptcy Court; and (3)
administer and adjust the Claims Register to reflect any such settlements or compromises without
any further notice to or action, order, or approval by the Bankruptcy Court. After the Effective
Date, the Insurance Trustee shall have and retain any and all rights and defenses the Debtor had
with respect to any Class 3 Claim immediately prior to the Effective Date.

B.        Estimation of Claims and Interests

     1.   In General

         Before or after the Effective Date, the Debtor may (but is not required to) at any time
request that the Bankruptcy Court estimate any Disputed Claim or Disputed Interest that is
contingent or unliquidated pursuant to section 502(c) of the Bankruptcy Code for any reason,
regardless of whether any party previously objected to such Claim or Interest or whether the
Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain
jurisdiction to estimate any such Claim or Interest, including during the litigation of any objection
to any Claim or Interest during the appeal relating to such objection. Notwithstanding any
provision otherwise in the Plan, a Claim or Interest that has been expunged from the Claims
Register, but that either is subject to appeal or has not been the subject of a Final Order, shall be
deemed to be estimated at zero dollars ($0.00) unless otherwise ordered by the Bankruptcy Court.
In the event that the Bankruptcy Court estimates any contingent or unliquidated Claim or Interest,
that estimated amount shall constitute a maximum limitation on such Claim or Interest for all
purposes under the Plan (including for purposes of distributions), and the Reorganized Debtor
may elect to pursue any supplemental proceedings to object to any ultimate distribution on such
Claim or Interest.



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     2.   Southstar Plaintiffs’ Claims

         Prior to the Confirmation Hearing, the Debtor shall File a motion with the Bankruptcy
Court requesting that the Class 3 Claims of the Southstar Plaintiffs be estimated in order to
establish (i) the amount of the Claims; (ii) feasibility of the Plan; and (iii) the Impaired or
Unimpaired status of the Southstar Plaintiffs’ Claims. Once estimated by the Bankruptcy Court,
the Southstar Plaintiffs’ Claims shall become Allowed Class 3 Claims and fixed in the amount
ordered by the Bankruptcy Court for purposes of receiving distributions from the Insurance Trust.

C.        Adjustment to Claims or Interests Without Objection

       Any Claim or Interest that has been paid or satisfied, or any Claim or Interest that has
been amended or superseded, may be adjusted or expunged on the Claims Register by the
Reorganized Debtor without any further notice to or action, order, or approval of the Bankruptcy
Court.

D.        Time to File Objections to Claims

        Except as otherwise specifically provided in the Plan, any objections to Claims shall be
Filed on or before the later of: (i) one hundred eighty (180) days after the Effective Date, or (ii)
such other period of limitation as may be specifically fixed by a Final Order of the Bankruptcy
Court for objecting to such Claims.

E.        Disallowance of Claims or Interests

         Except as otherwise specifically provided in the Plan, any Claims or Interests held by
Entities from which property is recoverable under section 542, 543, 550, or 553 of the Bankruptcy
Code, or that is a transferee of a transfer avoidable under section 522(f), 522(h), 544, 545, 547,
548, 549, or 724(a) of the Bankruptcy Code, shall be deemed disallowed pursuant to section
502(d) of the Bankruptcy Code, and Holders of such Claims or Interests may not receive any
distributions on account of such Claims until such time as any objection to those Claims or
Interests have been settled or a Bankruptcy Court order with respect thereto has been entered.

         Except as provided herein or otherwise agreed, any and all Proofs of Claim Filed after the
Bar Date shall be deemed disallowed and expunged as of the Effective Date without any further
notice to or action, order, or approval of the Bankruptcy Court, and Holders of such Claims may
not receive any distributions on account of such Claims, unless on or before the Confirmation
Hearing such late Claim has been deemed timely Filed by a Final Order.

F.        Amendments to Claims or Interests

         On or after the Effective Date, a Claim or Interest may not be Filed or amended without
the prior authorization of the Bankruptcy Court or the Reorganized Debtor and any such new or
amended Claim or Interest Filed shall be deemed disallowed in full and expunged without any
further action.



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G.       No Distributions Pending Allowance

       If any objection to a Claim or Interest or portion thereof is Filed as set forth in Article
VII.D hereof, no payment or distribution provided under the Plan shall be made on account of
such Claim or Interest or portion thereof unless and until such Disputed Claim or Interest
becomes an Allowed Claim or Interest.

H.       Distributions After Allowance

         To the extent that a Disputed Claim ultimately becomes an Allowed Claim or Allowed
Interest, distributions (if any) shall be made to the Holder of such Allowed Claim or Allowed
Interest (as applicable) in accordance with the provisions of the Plan. As soon as practicable after
the date that the order or judgment of the Bankruptcy Court allowing any Disputed Claim or
Disputed Interest becomes a Final Order, the Debtor shall provide to the Holder of such Claim or
Interest the distribution (if any) to which such Holder is entitled under the Plan as of the Effective
Date, without any interest, dividends, or accruals to be paid on account of such Claim or Interest
unless required under applicable bankruptcy law.

                               ARTICLE VIII.
         SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

 A.      Release of Debtor

          Pursuant to Bankruptcy Code section 1141(d), and except as otherwise specifically
provided in the Plan or in any contract, instrument, or other agreement or document created
pursuant to the Plan, the distributions, rights, and treatment that are provided for in the Plan shall
be in complete satisfaction, discharge, and release, effective as of the Effective Date, of Claims,
Interests, and Causes of Action of any nature whatsoever, including any interest accrued on
Claims or Interests from and after the Petition Date, whether known or unknown, against,
liabilities of, liens on, obligations of, rights against, and Interests in, the Debtor or any of its assets
or properties, regardless of whether any property shall have been distributed or retained pursuant
to the Plan on account of such Claims and Interests, including demands, liabilities, and Causes of
Action that arose before the Effective Date, any liability (including withdrawal liability) to the
extent such Claims or Interests related to services performed by employees of the Debtor prior to
the Effective Date and that arise from a termination of warranties issued on or before the Effective
Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy
Code, in each case whether or not: (1) a Proof of Claim based upon such debt or right is Filed or
deemed Filed pursuant to section 501 of the Bankruptcy Code; or (2) a Claim or Interest based
upon such debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy Code. The
Confirmation Order shall be a judicial determination of the discharge of all Claims and Interests
subject to the occurrence of the Effective Date.

B.       Release of Liens

        Except as otherwise provided in the Plan, or any contract, instrument, release, or other
agreement or document created pursuant to the Plan, on the Effective Date and concurrently with
the applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
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satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date,
except for Secured Claims that the Debtor elects to Reinstate in accordance with Article III.C.2
hereof, all mortgages, deeds of trust, Liens, pledges, or other security interests against any
property of the Estate shall be fully released and discharged, and all of the right, title, and interest
of any Holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall
revert to the Reorganized Debtor and its successors and assigns. On and after the Effective Date,
any Holder of such Secured Claim (and the applicable agents for such Holder), at the expense of
the Reorganized Debtor, shall be authorized and directed to release any collateral or other
property of either Debtor (including any Cash collateral and possessory collateral) held by such
Holder (and the applicable agents for such Holder), and to take such actions as may be reasonably
requested by the Reorganized Debtor to evidence the release of such Lien, including the
execution, delivery, and filing or recording of such releases. The presentation or Filing of the
Confirmation Order to or with any federal, state, provincial, or local agency or department shall
constitute good and sufficient evidence of, but shall not be required to effect, the termination of
such Liens.

C.      Releases by the Debtor

         Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration,
on and after the Effective Date, each Released Party is deemed released and discharged by the
Debtor, the Reorganized Debtor, and its Estate, in each case on behalf of themselves and their
respective successors, assigns, and representatives, and any and all other entities who may purport
to assert any Cause of Action, directly or derivatively, by, through, for, or because of the
foregoing entities, from any and all Causes of Action, including any derivative claims, asserted on
behalf of the Debtor, that the Debtor, the Reorganized Debtor, or its Estate would have been
legally entitled to assert in their own right (whether individually or collectively) or on behalf of
the Holder of any Claim against, or Interest in, the Debtor or other Entity, based on or relating to,
or in any manner arising from, in whole or in part, the Debtor, the Debtor’s in- or out-of-court
restructuring efforts, the Bankruptcy Case, the Plan, the Insurance Trust, or any contract,
instrument, release, or other agreement or document created or entered into in connection with the
Plan, the Insurance Trust Agreement, the Filing of the Bankruptcy Case, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
or the distribution of property under the Plan or any other related agreement, or upon any other
act or omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date. Notwithstanding anything contained herein to the contrary, the foregoing release
does not release any obligations of any party under the Plan or any document, instrument, or
agreement executed to implement the Plan or the Insurance Trust Agreement.

D.      Releases by Holders of Claims and Interests

         As of the Effective Date, each Releasing Party is deemed to have released and discharged
the Debtor, Reorganized Debtor, and Released Party from any and all Causes of Action, whether
known or unknown, including derivative claims, asserted on behalf of the Debtor, that such Entity
would have been legally entitled to assert (whether individually or collectively), based on or
relating to, or in any manner arising from, in whole or in part, the Debtor, the Debtor’s in- or out-
of-court restructuring efforts, the Bankruptcy Case, the formulation, preparation dissemination,
negotiation, or Filing of the Plan, the Insurance Trust Agreement, or the pursuit of Confirmation,
the pursuit of Consummation, the administration and implementation of the Plan, or the
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distribution of property under the Plan or any other related agreement, or upon any other related
act or omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date. Notwithstanding anything contained herein to the contrary, the foregoing release
does not release any obligations of any party under the Plan or any document, instrument, or
agreement executed to implement the Plan.

E.      Exculpation

          The Exculpated Parties shall not have or incur any liability to any Holder of a Claim or
Interest, for any act, event, or omission from the Petition Date to the Effective Date in connection
with or arising out of the Bankruptcy Case, the Confirmation of the Plan, the Consummation of
the Plan, the administration of the Plan, the Insurance Trust, or the assets and property to be
distributed pursuant to the Plan or Insurance Trust (including unclaimed property under the Plan),
unless such Entity’s action is determined as (i) bad faith; (ii) actual fraud; (iii) willful misconduct;
or (iv) gross negligence, in each case by a Final Order of a court of competent jurisdiction. Each
Entity may reasonably rely upon the opinions of counsel, certified public accountants, and other
experts or professionals employed by the Debtor.

F.      Injunction

         Except as otherwise expressly provided in the Plan or for obligations issued or required to
be paid pursuant to the Plan or the Confirmation Order, all Entities who have held, hold, or may
hold Claims or Interests that have been satisfied, released, discharged, or are subject to
exculpation are permanently enjoined, from and after the Effective Date, from taking any of the
following actions against, as applicable, the Debtor, the Reorganized Debtor, the Exculpated
Parties, or the Released Parties: (1) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such Claims or
Interests; (2) enforcing, attaching, collecting, or recovering by any manner or means any
judgment, award, decree, or order against such Entities on account of or in connection with or
with respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any
encumbrance of any kind against such Entities or the property or the estates of such Entities on
account of or in connection with or with respect to any such Claims or Interests; (4) asserting any
right of setoff, subrogation, or recoupment of any kind against any obligation due from such
Entities or against the property of such Entities on account of, in connection with, or with respect
to any such Claims or Interests unless such Holder has Filed a motion requesting the right to
perform such setoff on or before the Effective Date, and notwithstanding an indication of a Claim
or Interest or otherwise that such Holder asserts, has, or intends to preserve any right of setoff
pursuant to applicable law or otherwise; and (5) commencing or continuing in any manner any
action or other proceeding of any kind on account of, in connection with, or with respect to any
such Claims or Interests released or settled pursuant to the Plan.

         Upon Confirmation of the Plan, all Holders of Claims and Interests and their respective
current and former employees, agents, officers, directors, principals, and direct and indirect
Affiliates shall be enjoined from taking any actions to interfere with the implementation or
Consummation of the Plan. Each Holder of any Allowed Claim or Allowed Interest, as
applicable, by accepting, or being eligible to accept, distributions under or Reinstatement of such
Claim or Interest, as applicable, pursuant to the Plan, shall be deemed to have consented to the
injunction provisions set forth in the Plan.
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G.        Channeling Injunction

     1.   In General

         Upon Confirmation of the Plan, all Holders of Claims and Interests having an Allowed
Claim herein shall be temporarily enjoined, pursuant to section 105 of the Bankruptcy Code, from
proceeding against any other obligor or guarantor on that debt for the collection of all or any
portion of their Allowed Claim. Such injunction shall remain in effect only for so long as the
Reorganized Debtor complies with the terms of the Plan. Any violation of the Plan that remains
uncured for thirty (30) days after receipt by the Reorganized Debtor of written notice from any
party affected by such violation shall, without order of the Bankruptcy Court, automatically result
in the dissolution of the injunction granted hereunder as to the affected party.

     2.   Class 3 Claims

         In addition, Holders of Allowed Class 3 Claims shall be enjoined from commencing or
continuing in any manner any action or other proceeding of any kind, including claims under an
alter ego theory of liability, against a non-Debtor party on account of, or in connection with, or
with respect to any such Class 3 Claims unless the distributions from the Insurance Trust are
insufficient to pay the Allowed Class 3 Claims in full. Following the distributions from the
Insurance Trust to the Holders of Allowed Class 3 Claims in accordance with the Litigation Trust
Agreement, the channeling injunction provided for in this section shall terminate.

H.        Protections Against Discriminatory Treatment

        Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the
U.S. Constitution, all Entities, including Governmental Units, shall not discriminate against the
Reorganized Debtor or deny, revoke, suspend, or refuse to renew a license, permit, charter,
franchise, or other similar grant to, condition such a grant to, discriminate with respect to such a
grant against, the Reorganized Debtor, or another Entity with whom the Reorganized Debtor has
been associated, solely because the Reorganized Debtor has been a debtor under chapter 11 of the
Bankruptcy Code, has been insolvent before the commencement of the Bankruptcy Case (or
during the Bankruptcy Case but before the Debtor is granted or denied a discharge), or has not
paid a debt that is dischargeable in the Bankruptcy Case.

I.        Reimbursement or Contribution

        If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity
pursuant to section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is
contingent as of the time of allowance or disallowance, such Claim shall be forever disallowed
and expunged notwithstanding section 502(j) of the Bankruptcy Code, unless prior to the
Confirmation Date: (1) such Claim has been adjudicated as non-contingent or (2) the relevant
Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a
Final Order has been entered prior to the Confirmation Date determining such Claim is no longer
contingent.




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                           ARTICLE IX.
 CONDITIONS PRECEDENT TO CONFIRMATION AND CONSUMMATION OF THE
                             PLAN

A.      Conditions Precedent to Confirmation

       The following are conditions precedent to Confirmation of the Plan that shall be satisfied
or waived in writing in accordance with Article IX.C of the Plan:

     1. The Plan and Confirmation Order shall be in form and substance acceptable to the Debtor.

B.       Conditions Precedent to Effectiveness

     1. The Bankruptcy Court shall have entered the Confirmation Order in form and substance
        acceptable to the Debtor and shall not (a) have been reversed or vacated, (b) be subject to
        a then-effective stay, or (c) have been modified or amended;

     2. The Plan, including any amendments, modifications, or supplements thereto, and inclusive
        of any amendments, modifications, or supplements made after the Confirmation Date but
        before the Effective Date, shall be in form and substance acceptable to the Debtor;

     3. The Insurance Trust Agreement shall be in form and substance acceptable to the Debtor;
        and

     4. The Bankruptcy Court shall have estimated the Class 3 Claims, including those of the
        Southstar Plaintiffs, to determine that the Claims of the Litigation Creditors do not exceed
        the available coverage under the Inception CIP.

C.       Waiver of Conditions

       The conditions to Confirmation and the Effective Date set forth in this Article IX may be
waived only with the prior written consent of the Debtor without notice, leave, or order of the
Bankruptcy Court or any formal action other than proceedings to confirm or consummate the
Plan.

D.       Effect of Failure of Conditions

         If Consummation does not occur, the Plan shall be null and void in all respects and
nothing contained in the Plan shall: (1) constitute a waiver or release of Claims by the Debtor,
Claims, or Interests; (2) prejudice in any manner the rights of the Debtor, any Holders of Claims
or Interests, or any other Person or Entity; or (3) constitute an admission, acknowledgement,
offer, or undertaking by the Debtor, any Holders of Claims or Interests, or any other Person or
Entity.




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                               ARTICLE X.
          MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.      Modifications and Amendments

        Except as otherwise specifically provided in the Plan, the Debtor reserves the right to
modify the Plan whether such modification is material or immaterial, and seek Confirmation
consistent with the Bankruptcy Code. Subject to those restrictions on modifications set forth in
the Plan and the requirements of section 1127 of the Bankruptcy Code, Rule 3019 of the Federal
Rules of Bankruptcy Procedure, and, to the extent applicable, sections 1122, 1123 and 1125 of
the Bankruptcy Code, the Debtor expressly reserves its rights to revoke or withdraw, or, to alter,
amend, or modify the Plan, one or more times, after Confirmation, and, to the extent necessary
may initiate proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or
remedy any defect or omission, or reconcile any inconsistencies in the Plan, or the Confirmation
Order, in such matters as may be necessary to carry out the purposes and intent of the Plan.

B.      Effect of Confirmation on Modifications

       Entry of a Confirmation Order shall mean that all modifications or amendments to the
Plan made pursuant Article X.A., above, are approved pursuant to Bankruptcy Code section
1127(a) and do not require additional disclosure under Bankruptcy Rule 3019.

C.      Revocation or Withdrawal of Plan

        The Debtor reserves the right to revoke or withdraw the Plan prior to the Confirmation
Date and to File subsequent plans of reorganization. If the Debtor revokes or withdraws the
Plan, or if Confirmation or Consummation does not occur, then: (1) the Plan shall be null and
void in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing
or limiting to an amount certain of any Claim or Interests or Class of Claims or Interests),
assumption or rejection of Executory Contracts and Unexpired Leases effected under the Plan,
and any document or agreement executed pursuant to the Plan, shall be deemed null and void;
and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or
Interests; (b) prejudice in any manner the rights of the Debtor or any other Entity; or (c)
constitute an admission, acknowledgement, offer, or undertaking of any sort by the Debtor or
any other Person or Entity.

                                      ARTICLE XI.
                               RETENTION OF JURISDICTION

       Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, on and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction
over all matters arising out of, or relating to, the Bankruptcy Case and the Plan pursuant to
sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction to:

     1. Allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured
        or unsecured status, or amount of any Claim or Interest, including the resolution of any
        requests for payment of any Administrative Claim and the resolution of any objections to

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   the secured or unsecured status, priority, amount, or allowance of Claims or Interests;

2. Decide and resolve all matters related to the granting and denying, in whole or in part,
   any applications for allowance of compensation or reimbursement of expenses to
   Professionals authorized pursuant to the Bankruptcy Code or the Plan;

3. Resolve any matters related to: (a) the assumption, assumption and assignment, or
   rejection of any Executory Contract or Unexpired Lease to which the Debtor is a party or
   with respect to which the Debtor may be liable and to hear, determine, and, if necessary,
   liquidate, any Claims arising therefrom, including Cure Claims pursuant to section 365 of
   the Bankruptcy Code; (b) any potential contractual obligation under any Executory
   Contract or Unexpired Lease that is assumed; (c) the Reorganized Debtor amending,
   modifying, or supplementing, after the Effective Date, pursuant to Article V hereof, the
   Schedules of Executory Contracts and Unexpired Leases to be assumed or rejected or
   otherwise; and (d) any dispute regarding whether a contract or lease is or was executory
   or expired;

4. Ensure that distributions to Holders of Allowed Claims and Allowed Interests (as
   applicable) are accomplished pursuant to the provisions of the Plan and Insurance Trust
   Agreement;

5. Adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated
   matters, and any other matters, and grant or deny any applications involving the Debtor
   that may be pending on the Effective Date;

6. Adjudicate, decide, or resolve all matters related to section 1141 of the Bankruptcy Code;

7. Enter and implement such orders as may be necessary to execute, implement, or
   consummate the provisions of the Plan, the Insurance Trust Agreement, and all contracts,
   instruments, releases, indentures, and other agreements or documents created in
   connection with the Plan;

8. Enter and enforce any order for the sale of property pursuant to sections 363, 1123, or
   1146(a) of the Bankruptcy Code;

9. Resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
   connection with the Consummation, interpretation, or enforcement of the Plan or any
   Entity’s obligations incurred in connection with the Plan;

10. Issue injunctions, enter and implement other orders, or take such other actions as may be
    necessary to restrain interference by any Person or Entity with respect to Consummation
    or enforcement of the Plan;

11. Resolve any cases, controversies, suits, disputes or Causes of Action with respect to the
    releases, injunctions, and other provisions contained in Article VIII hereof and enter such
    orders as may be necessary to implement such releases, injunctions and other provisions;

12. Resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
    repayment or return of distributions and the recovery of additional amounts owed by the
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        Holder of a Claim or Interest for amounts not timely repaid pursuant to Article VI.L
        hereof;

     13. Enter and implement such orders as are necessary if the Confirmation Order is for any
         reason modified, stayed, reversed, revoked, or vacated;

     14. Determine any other matters that may arise in connection with or related to the Plan, the
         Insurance Trust Agreement, the Confirmation Order, or any contract, instrument, release,
         indenture, or other agreement or document created in connection with the Plan;

     15. Enter an order concluding or closing the Bankruptcy Case;

     16. Adjudicate any and all disputes arising from or relating to distributions under the Plan;

     17. Consider any modifications of the Plan, to cure any defect or omission, or to reconcile
         any inconsistency in any Court order, including the Confirmation Order;

     18. Determine requests for the payment of Claims and Interests entitled to priority pursuant
         to section 507 of the Bankruptcy Code;

     19. Hear and determine disputes arising in connection with the interpretation,
         implementation, or enforcement of the Plan or the Confirmation Order, including
         disputes arising under agreements, documents, or instruments executed in connection
         with the Plan;

     20. Hear and determine matters concerning state, local, and federal taxes in accordance with
         sections 363, 505, and 1146 of the Bankruptcy Code;

     21. Hear and determine all disputes involving the existence, nature, scope, or enforcement of
         any exculpations, discharges, injunctions and releases granted in the Plan, including
         under Article VIII hereof, regardless of whether such termination occurred prior to or
         after the Effective Date;

     22. Enforce all orders previously entered by the Bankruptcy Court; and

     23. Hear any other matter not inconsistent with the Bankruptcy Code.

                                      ARTICLE XII.
                               MISCELLANEOUS PROVISIONS

A.      Immediate Binding Effect

         Subject to Article IX hereof, and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or
7062 or otherwise, upon the occurrence of the Effective date, the terms of the Plan shall be
immediately effective and enforceable and deemed binding upon: (1) the Debtor’s Estate, (2) the
Reorganized Debtor, (3) all Holders of Claims or Interests (irrespective of whether such Claim or
Interest Holders are deemed to have accepted the Plan), (4) all Entities that are parties to or are
subject to the settlements, compromises, releases, discharges, and injunctions described in the
Plan, (5) each Entity acquiring property under the Plan or Insurance Trust Agreement, and (6) any
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and all non-Debtor parties to Executory Contracts and Unexpired Leases.

B.      Additional Documents

        On or before the Effective Date, the Debtor may file with the Bankruptcy Court such
agreements and other documents as may be necessary to effectuate and further evidence the
terms and conditions of the Plan, including the Insurance Trust Agreement. The Debtor or the
Reorganized Debtor, as applicable, and all Holders of Claims or Interests receiving distributions
pursuant to the Plan and Insurance Trust Agreement and all other parties in interest shall, from
time to time, prepare, execute, and deliver any agreements or documents and take any other
actions as may be necessary or advisable to effectuate the provisions and intent of the Plan.

C.      Payment of Statutory Fees

         All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the
Bankruptcy Court at a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by
the Reorganized Debtor for each quarter (including any fraction thereof) until the Bankruptcy
Case is converted, dismissed, or closed - whichever occurs first.

D.      Reservation of Rights

         Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court shall enter the Confirmation Order, and the Confirmation Order shall have no
force or effect if the Effective Date does not occur. None of the Filing of the Plan, any statement
or provision contained in the Plan, or the taking of an action by the Debtor with respect to the
Plan, or the Insurance Trust Agreement shall be, or shall be deemed to be, an admission or waiver
of any rights of the Debtor with respect to the Holders of Claims or Interests prior to the Effective
Date.

E.      Successors & Assigns

         The rights, benefits, and obligations of any Entity named or referred to in the Plan shall
be binding on, and shall inure to the benefit of any heir, executor, administrator, successor or
assign, Affiliate, officer, director, agent, representative, attorney, beneficiaries, or guardian, if
any, of each Entity.

F.      Notices

         All notices, requests, and demands to or upon the Debtor to be effective shall be in
writing (including any facsimile transmission) and, unless otherwise expressly provided herein,
shall be deemed to have been duly given or made when actually delivered, or, in the case of notice
by facsimile transmission, when received and telephonically confirmed, addressed as follows:




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G.      Term of Injunctions or Stays

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or
stays in effect in the Bankruptcy Case pursuant to sections 105 or 362 of the Bankruptcy Code or
any order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any
injunctions or stays contained in the Plan or the Confirmation Order) shall remain in full force
and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

H.      Entire Agreement

       Except as otherwise indicated, the Plan (including, for the avoidance of doubt, the Plan
Documents) supersedes all previous and contemporaneous negotiations, promises, covenants,
agreements, understandings, and representations on such subjects, all of which are deemed
merged and integrated into the Plan.

I.      Exhibits

         All Exhibits and documents attached to the Plan are incorporated into and are a part of
the Plan as if set forth in full in the Plan. After the Exhibits and documents are Filed, copies of
such Exhibits and documents shall be available upon written request to the Debtor’s counsel at the
address above or by downloading such Exhibits and documents from the Courts CM/ECF filing
system. To the extent any Exhibit or document is inconsistent with the terms of the Plan, unless
otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan
shall control.

J.      Nonseverability of Plan Provisions

        If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy
Court to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter
and interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose of the term or provision held to be invalid, void,
or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected,
impaired, or invalidated by such holding, alteration, or interpretation. The Confirmation Order
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shall constitute a judicial determination and shall provide that each term and provision of the
Plan, as it may have been altered or interpreted in accordance with the foregoing, is: (1) valid and
enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or modified
without the Debtor’s consent; (3) nonseverable and mutually dependent.

K.      Plan Proposed in Good Faith

         Upon entry of the Confirmation Order, the Debtor will be deemed to have proposed the
Plan in good faith and in compliance with the Bankruptcy Code, and pursuant to section 1125(e)
of the Bankruptcy Code, the Debtor and each of its Affiliates, agents, representatives, members,
principals, shareholders, officers, directors, employees, advisors, and attorneys will be deemed to
have participated in good faith and in compliance with the Bankruptcy Code, and, therefore,
neither any of such individuals or Entities or the Reorganized Debtor will have any liability for
the violation of any applicable law, rule, or regulation governing the proposal of the Plan or
participation in the Bankruptcy Case.

L.      Closing the Bankruptcy Case

        The Reorganized Debtor shall, promptly after the administration of the Bankruptcy Case,
File with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any
applicable order of the Bankruptcy Court to close the Bankruptcy Case.

M.      Waiver or Estoppel

         Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert
any arguments, including the right to argue that its Claim or Interest should be Allowed in a
certain amount, in a certain priority, secured or not subordinated by virtue of an agreement made
with the Debtor, or its counsel, or any other Entity, if such agreement was not disclosed in the
Plan or papers Filed with the Bankruptcy Court prior to the Confirmation Date.

N.      Controlling Document

       In the event of an inconsistency between the Confirmation Order and the Plan, the
Confirmation Order shall control.




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Respectfully submitted on the 26th day of February, 2019.



                                           DEBTOR URBAN OAKS BUILDERS LLC

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                                                 Vice President of Construction

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